UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

KIMBERLY KATORA BROWN, ct al.
Plaintiffs,
v. Civil Action No: 13-569 (CRC)

GOVERNMENT OF THE DISTRICT OF
COLUMBIA,

Delendant.

 

 

RDER
Plaintlls’ motion [121] is GRANTED,
All of Plaintill Kimberly Katora Brown's claims are dismissed with prejudice;

All of Plainulls Gregory Stewart, Ishebekka Beckford, and Chiquala Steele's claims arc

dismissed without prejudice;

Claim 10, the "Memphis Light" Claim, is dismissed without prejudice as to all remaiming

Named Plaintiffs.

ORDER, uf ECF (5 Ltd C2
[3 hereby VACATED. 3 ;

Judge Christopher R. Cooper
Judge, United States District Court for the District of

Columbia
